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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION




                                                                                          

                              DOCKET CONTROL ORDER


        In accordance with the scheduling conference held in this case, it is hereby ORDERED
that the following schedule of deadlines is in effect until further order of this Court:

 November 4, 2019                               *Jury Selection — 9:00 am. in Marshall,
                                                Texas before Judge Rodney Gilstrap

 October 7, 2019                                *Pretrial Conference —9:00 am. in Marshall,
                                                Texas before Judge Rodney Gilstrap

 October 2, 2019                                *Notify Court of Agreements Reached During
                                                Meet and Confer

                                                The parties are ordered to meet and confer on
                                                any outstanding objections or motions in
                                                limine. The parties shall advise the Court of
                                                any agreements reached no later than 1:00
                                                p.m. three (3) business days before the pretrial
                                                conference.

 September 30, 2019                             *File Joint Pretrial Order, Joint Proposed Jury
                                                Instructions, Joint Proposed Verdict Form,
                                                Responses to Motions in Limine, Updated
                                                Exhibit Lists, Updated Witness Lists, and
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                                      Updated Deposition Designations

September 23, 2019                    *File Notice of Request for Daily Transcript
                                      or Real Time Reporting.

                                      If a daily transcript or real time reporting of
                                      court proceedings is requested for trial, the
                                      party or parties making said request shall file
                                      a notice with the Court and email the Court
                                      Reporter, Shelly Holmes, at
                                      shelly_holmes@txed.uscourts.gov.

September 16, 2019                    File Motions in Limine

                                      The parties shall limit their motions in limine
                                      to issues that if improperly introduced at trial
                                      would be so prejudicial that the Court could
                                      not alleviate the prejudice by giving
                                      appropriate instructions to the jury.

September 16, 2019                    Serve Objections to Rebuttal Pretrial
                                      Disclosures 

September 2, 2019                     Serve Objections to Pretrial Disclosures; and
                                      Serve Rebuttal Pretrial Disclosures

August 26, 2019                       Serve Pretrial Disclosures (Witness List,
                                      Deposition Designations, and Exhibit List) by
                                      the Party with the Burden of Proof

July 29, 2019                         *File Motions to Strike Expert Testimony
                                      (including Daubert Motions)

                                      No motion to strike expert testimony
                                      (including a Daubert motion) may be filed
                                      after this date without leave of the Court.

July 29, 2019                         *File Dispositive Motions 

                                      No dispositive motion may be filed after this
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                                      date without leave of the Court.

                                      Motions shall comply with Local Rule CV—
                                      56 and Local Rule CV—7. Motions to extend
                                      page limits will only be granted in exceptional
                                      circumstances. Exceptional circumstances
                                      require more than agreement among the
                                      parties.

July 29, 2019                         Deadline to Complete Expert Discovery 


July 8, 2019                          Serve Disclosures for Rebuttal Expert
                                      Witnesses

June 17, 2019                         Deadline to Complete Fact Discovery and
                                      File Motions to Compel Discovery

June 17, 2019                         Serve Disclosures for Expert Witnesses by the
                                      Party with the Burden of Proof

May 31, 2019                          Deadline to Complete Mediation

                                      The parties are responsible for ensuring that a
                                      mediation report is filed no later than 5 days
                                      after the conclusion of mediation.

May 24, 2019                          Comply with P.R. 3-7 (Opinion of Counsel
                                      Defenses)

May 3, 2019                           * Claim Construction Hearing —1:30 p.m. in
                                      Marshall, Texas before Judge Rodney
                                      Gilstrap


April 19, 2019                        *Comply with PR. 4—5(d) (Joint Claim
                                      Construction Chart)

April 12, 2019                        *Comply with P.R. 4—5(c) (Reply Claim
                                      Construction Brief)
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April 5, 2019                         Comply with P.R. 4—5(b) (Responsive Claim
                                      Construction Brief)

March 22, 2019                        Comply with PR. 4—5(a) (Opening Claim
                                      Construction Brief) and Submit Technical
                                      Tutorials (if any)

                                      Good cause must be shown to submit
                                      technical tutorials after the deadline to
                                      comply with P.R. 4-5(a).

March 22, 2019                        Deadline to Substantially Complete
                                      Document Production and Exchange Privilege
                                      Logs

                                      Counsel are expected to make good faith
                                      efforts to produce all "required" documents as
                                      soon as they are available and not wait until
                                      the substantial completion deadline. 

March 8, 2019                         Comply with P.R. 4-4 (Deadline to Complete
                                      Claim Construction Discovery)

March 1, 2019                         File Response to Amended Pleadings


February 15, 2019                     *File Amended Pleadings

                                      It is not necessary to seek leave of Court to
                                      amend pleadings prior to this deadline unless
                                      the amendment seeks to assert additional
                                      patents.

February 8, 2019                      Comply with P.R. 4-3 (Joint Claim
                                      Construction Statement)

January 18, 2019                      Comply with P.R. 4—2 (Exchange
                                      Preliminary Claim Constructions)
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December 28, 2018                     Comply with P.R. 4—1 (Exchange Proposed
                                      Claim Terms)


October 25, 2018                      *File Proposed Docket Control Order and
                                      Proposed Discovery Order

                                      The Proposed Docket Control Order and
                                      Proposed Discovery Order shall be filed as
                                      separate motions with the caption indicating
                                      whether or not the proposed order is opposed
                                      in any part.

December 1, 2018                      Comply with P.R. 3-3 & 3—4 (Invalidity
                                      Contentions)

October 8, 2018                       *File Proposed Protective Order and Comply
                                      with Paragraphs 1 & 3 of the Discovery Order
                                      (Initial and Additional Disclosures)

                                      The Proposed Protective Order shall be filed
                                      as a separate motion with the caption
                                      indicating whether or not the proposed order
                                      is opposed in any part.

September 18, 2018                    Join Additional Parties


September 14, 2018                    *File Notice of Mediator


August 28, 2018                       Comply with P.R. 3—1 & 3—2 (Infringement
                                      Contentions)
